Case 2:19-cv-04907-DLI-RML Document 23 Filed 07/28/20 Page 1 of 2 PageID #: 162




                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF NEW YORK
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MARISSA J. LONARDO,

                                   Plaintiff,

                 - against –
                                                                       Docket No.: 19-CV-04907
MANUEL ALEJANDRO RUIZ,                                                 (DLI)(RML)
CHOSEN FEW EMERALD ENTERTAINMENT, INC.
CHOSEN FEW ARTIST MANAGEMENT, INC.,
CHOSEN FEW ENTERTAINMENT, LLC, and
SONG OF JOY RUIZ WONDER PUBLISHING, INC.,

                                    Defendants.
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                                      NOTICE OF APPEARANCE

        PLEASE TAKE NOTICE that the undersigned attorney, Michael W. Macomber, Esq.,

hereby appears as counsel for Plaintiff Marissa J. Lonardo in the above-captioned matter. The

undersigned hereby requests to receive service of all subsequent written communications,

pleadings, notices, or other papers in this matter.


Dated: July 28, 2020                                         Respectfully submitted,
       Albany, New York
                                                             /s/ Michael W. Macomber
                                                             Michael W. Macomber, Esq.
                                                             CEO
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                                                             Attorney for Plaintiff




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Case 2:19-cv-04907-DLI-RML Document 23 Filed 07/28/20 Page 2 of 2 PageID #: 163




                                 CERTIFICATE OF SERVICE

       I hereby certify this Notice of Appearance was served on this 28th day of July 2020 via
the Court’s electronic filing system.

TO:    Honorable Robert M. Levy
       United States Magistrate Judge
       225 Cadman Plaza East
       Brooklyn, New York 11201

       Rick Ostrove, Esq.
       LEEDS BROWN LAW, P.C.
       rostrove@leedsbrownlaw.com

       Attorney for Defendants


                                                    /s/_Michael W. Macomber___
                                                    Michael W. Macomber, Esq.




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